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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF MISSOURI
                              EASTERN DIVISION

UNITED STATES OF AMERICA,            )
                                     )
                  Plaintiff,         )
                                     )
           v.                        )      No. 4:04CR572 JCH
                                     )                   (FRB)
ROBIN YVETTE ROBINSON,               )
                                     )
                  Defendant.         )


                                 MEMORANDUM,
                          REPORT AND RECOMMENDATION
                      OF UNITED STATES MAGISTRATE JUDGE


           All pretrial motions in the above cause were referred to

the undersigned United States Magistrate Judge pursuant to 28

U.S.C. § 636(b).

           Defendant’s Motion To Dismiss Indictment (Docket No. 213)

           The defendant moves to dismiss the indictment asserting

that certain allegations in the indictment, namely assertions that

the defendant is an organizer, leader, manager or supervisor of the

criminal   activity      alleged    in    the   indictment,    is   superfluous

language relating to sentencing factors alone and should not be

included in the indictment.         In response, the government concedes

that in light of the United States Supreme Court holding in United

States v. Booker, 543 U.S. 220 (2005), that such allegations set

out in Count I, Paragraph C, and Count II, Paragraph D of the

indictment      are    surplusage   and    should   be    stricken    from    the

indictment.
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              An indictment may be amended by striking language "where

the language omitted is surplusage and nothing is thereby added to

the indictment and the remaining allegations state the elements of

an offense."        United States v. Ross, 210 F.3d 916, 922 (8th Cir.

2000).

              Because the allegations to which the defendant objects

are   mere     surplusage,    and     because   the   indictment     with    such

allegations stricken continues to allege an offense against the

defendant,

              IT IS HEREBY RECOMMENDED that the Defendant's Motion To

Dismiss Indictment (Docket No. 213) be denied.

              IT IS FURTHER RECOMMENDED that Paragraph C of Count I,

and Paragraph D of Count II be stricken from the Indictment.


              The parties are advised that they have eleven (11) days

in    which    to    file   written    objections     to   this    Report     and

Recommendation.       Failure to timely file objections may result in

waiver of the right to appeal questions of fact.             Thompson v. Nix,

897 F.2d 356, 357 (8th Cir. 1990).




                                        UNITED STATES MAGISTRATE JUDGE



Dated this 29th day of January, 2007.
